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Exhibit 61

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

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In Re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

Plaintiff,
Case No.
07-5944 Sc
MDL No. 1917

This Document Relates to:

ALL ACTIONS,

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VIDEOTAPED DEPOSITION OF BARRY KUSHNER

FRIDAY, MARCH 2, 2012

REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR

Barry Kushner

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Court Reporters

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television an important feature to you?

A. Of course.
Q. How so?
A. We wanted to get a good, clear picture,

good color, and the one I saw did that at my
cousin's house.

Q. Was the brand of the CRT inside the
television an important feature to you?

A. No.

Q. At the time of your purchase in 1996, did
you know what company manufactured the CRT inside
the television?

A. No.

Q. Do you know today what company

manufactured the CRT inside your Toshiba

television?
A. No.

Q. Was the fact that the product contained a
CRT important to you when you purchased it?
A. No.
Q. Did you consider purchasing other products
containing different technologies?
MR. GRALEWSKI: Object to the form of the
question. Lacks foundation. Vague and ambiguous.

THE WITNESS: Answer?

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Toshiba television was manufactured by someone
other than a defendant or an alleged coconspirator?
MR. GRALEWSKI: Object to the form of the
question. Calls for speculation. Lacks
foundation.
THE WITNESS: Possible.
Q. BY MS. DONOVAN: Do you know the price

that Toshiba paid for the CRT inside your

television?
A. No.
Q. Do you know where the CRT inside your

television was manufactured?

A. No.

Q. Do you know where the Toshiba television
was manufactured?

A. No.

Q. And do you know where Toshiba obtained the
CRT inside your television?

A. No.

Q. And if asked by your counsel, would you be
willing to open your television to determine if it
contains a CRT manufactured by a defendant in this
case and/or to determine the size of the CRT
contained in your television?

A. Yes.

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A. Yes, yes.

Q. And he said he couldn't do anything to
lower the price?

A. He said it was already the lowest price,
yeah.

Q. Was the television brand important to you
at the time?

A. Not really.

Q. Is there any reason you ended up selecting
a television with Philips' brand?

A. I went on the salesperson's recommendation
that that was a good TV for the price.

Q. Did the salesperson say anything about the
CRT contained within the television?

A. Not to my knowledge.

Q. Were there any television brands that you
would not consider purchasing at that time?

A. I don't think so.

Q. Was the brand of the CRT inside the
television important to you?

A. No.

Q. Did you know at the time what company

-manufactured the CRT inside the Philips television?

A. I did not.

Q. Do you know today what company

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manufactured the CRT inside the Philips television?

A. I do not.

Q. Did you consider purchasing televisions
containing technologies other than a CRT, such as
plasma or LCD?

MR. GRALEWSKI: Object to the form of the
question. Lacks foundation.

THE WITNESS: No, I did not.

Q. BY MS. DONOVAN: Is there a reason why
not?

MR. GRALEWSKI: Same objection.

THE WITNESS: I am not sure that it was
available at the time in that size. I don't know.
Never occurred to me.

Q. BY MS. DONOVAN: I believe you testified
that at the time you purchased the Philips
television, you wanted a color TV. with a remote

control, best picture quality possible at the best

price?
A. Uh-huh, correct.
Q. Other than the Philips television that you

ended up purchasing, were there televisions, other
Philips televisions or other televisions of

different brands that had those same features?

A. Same features, yes, sure.
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[BARKLEY]
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